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                       UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF IDAHO



  IN RE:

  David Orville Kingston,                      Case No. 11-40128-JMM

         Debtor.

                                               Adv. Case Nos.
  David Orville Kingston,                      18-08043-JMM
                                               18-08044-JMM
         Plaintiff,                            18-08045-JMM
                                               19-08001-JMM
  vs.                                          19-08002-JMM
                                               19-08003-JMM
  Bank of America, N.A., el al,                19-08004-JMM
                                               19-08005-JMM
         Defendants.                           19-08006-JMM
                                               19-08007-JMM

            AMENDED PRETRIAL ORDER AND NOTICE OF TRIAL
        ________________________________________________________

        On the 15th day of March 2021, a status hearing was held by this Court to

 consider the Parties’ Stipulation to Continue Trial Dates, Dkt. No. 689, in which the

 following parties participated:

        Stephen Madsen, Idaho Falls, Idaho, Attorney for Plaintiff.

        John Kurtz, Jr., Keesha Coleman, James Bailey, Aaron Goldstein, and Heidi Buck

 Morrison Attorneys for Various Defendants.

        Based upon the results of said status hearing, the Court for good cause hereby

 ORDERS as follows:
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        1.     Based upon a review of the pleadings and the allegations of the parties

 contained therein, and as authorized by FED. R. CIV. P. 26, as incorporated by FED. R.

 BANKR. P. 7026, the Court hereby orders that the provisions of Rule 26(a)(1), Rule

 26(a)(3), the first sentence of Rule 26(d), and Rule 26(f) of the Federal Rules of Civil

 Procedure (and those provisions of Rule 16 and 30-37 referring thereto) shall not apply in

 this adversary proceeding.

        2.     Each and every party, though counsel and during pretrial conference,

 expressly consented to this Court exercising jurisdiction under 28 U.S.C. §§ 1334 and

 157 as to core matters and, further, expressly consented to this Court entering final orders

 and judgments in this litigation, subject only to appellate review under 28 U.S.C. § 158,

 on all matters that are or may be argued to be non-core or that, if statutorily core, are or

 may be argued to be outside the Constitutional authority of this Court.

        3.     Plaintiff’s initial expert witness disclosures and any written report of that

 expert shall be submitted to Defendant no later than August 27, 2021. Defendant’s expert

 witness disclosures and any written report of that expert shall be submitted to Plaintiff no

 later than September 24, 2021. Plaintiff’s rebuttal expert witness disclosures and any

 written report of that expert shall be submitted to Defendant no later than October 15,

 2021. Any and all other discovery shall be completed no later than November 19, 2021.

        4.     Any and all pretrial motions, including any motions for continuances, must

 be filed before the court in accordance with the Bankruptcy Rules on or before

 December 17, 2021. Continuances will not be granted unless extraordinary cause is
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 shown. Responses to pretrial motions shall be filed on or before January 7, 2021. Any

 reply briefs shall be filed on or before January 14, 2021.

        5.     The parties shall comply with the Court’s Order Regarding Exhibits and

 Witness lists attached hereto.

        6.     Each party shall file a short pretrial memorandum with the Court at least

 SEVEN (7) DAYS prior to the trial date containing a brief description of the issues of

 fact and/or law, the parties’ theories of the case, and a discussion of applicable authorities

 for such positions.

        8.     Trial of this matter has been set for February 8 thru February 10, 2022 as

 well as February 22 thru February 25, 2022, commencing at 9:00 am each day. at the

 U.S. Bankruptcy Court, Federal Building & U. S. Courthouse, 801 E. Sherman,

 Pocatello, Idaho.


                                     DATED: April 9, 2021



                                     ________________________
                                     JOSEPH M. MEIER
                                     CHIEF U. S. BANKRUPTCY JUDGE
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                       ORDER REGARDING EXHIBITS AND WITNESS LISTS

        The following provisions govern all documentary exhibits to be used in the trial of the adversary
 proceeding, and identification of all witnesses that may be called, except exhibits used solely for purposes
 of impeachment or rebuttal, and witnesses called solely for rebuttal.

         (a) Marking, exchanging, and providing exhibits

                   (1) Each party shall identify a proposed documentary exhibit by marking it, if
 practicable, in the lower right-hand corner of its first page. Unless there are more than two parties, the
 plaintiff shall identify exhibits by consecutive number starting with 100 (100, 101, 102, 103, etc.), and the
 defendant shall identify exhibits by consecutive number starting with 200 (200, 201, 202, 203, etc.).

                           (A) If there are more than two parties, or if parties anticipate a number of
 exhibits greater than this protocol will accommodate, the parties shall address that matter with the
 courtroom deputy and comply with such orders as the Court may enter as to exhibit identification and
 numbering. Ordinarily subsequent number ranges (300, 301, 302, 303, etc.; 400, 401, 402, 403, etc.) will
 be assigned to the additional parties.

                  (2) Any party intending to offer an exhibit in evidence shall provide pre-marked copies
 thereof to opposing parties, and provide the original and one copy to the courtroom deputy, no later than
 seven (7) days prior to the scheduled commencement of trial unless otherwise ordered by the Court.
 Failure to do so may be grounds for not admitting an exhibit in evidence.

                (3) Where a party intends to offer ten (10) or more exhibits, that party shall place its pre-
 marked exhibits in tabbed binders prior to exchanging exhibits with other parties and providing them to
 the courtroom deputy.

         (b) Identification and disclosure of witnesses

                    (1) Each party shall disclose the names and addresses of all witnesses proposed to be
 called at trial, except for rebuttal witnesses. Such witness lists shall be provided to opposing parties and
 the courtroom deputy no later than seven (7) days prior to the scheduled commencement of trial unless
 otherwise ordered by the Court. Failure to do so may be grounds for not allowing the testimony of a
 witness.

                  (2) Parties designating a witness shall have the responsibility, subject to the Bankruptcy
 Rules, of assuring the presence of the witness at trial.

         (c) Discretion of the Court.

          Notwithstanding the foregoing, the Court may enter such orders concerning exhibits or witness
 lists as may be necessary or appropriate, including modification or waiver of the requirements of this
 Order.

 BY ORDER OF THE COURT
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                                           BANKRUPTCY COURT

                                                EXHIBIT LIST

                               SUBMITTED BY: __________________


        CASE NAME:                                           COURT                   CASE NUMBER:

                                                       DATE:

        Plaintiff:                                           Defendant:

        Plaintiff=s Counsel:                                 Defendant=s Counsel:



        Exhibit Nos.____________                             Exhibit Nos._____________



        PRESIDING JUDGE:


EXHIBITS                                                          DESCRIPTION

Nos.      Date          Admitted
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